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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                FORT WAYNE DIVISION

EMMA WILSON, HANNAH STOFFEL,     )
and ERIN MANCHESS                )
                                 )
     Plaintiffs,                 )
                                 )
v.                               )                    Cause No. 1:22-CV-336-HAB
                                 )
NICHOLAS JOHNSON,                )
HUNTINGTON UNIVERSITY BOARD )
OF TRUSTEES, RUSS DEGITZ, LAUREN )
JOHNSON, CURTIS HINES, AND JOHN )
DOES 1-50                        )
                                 )
     Defendants.                 )

                                  ORDER DISMISSING CASE

       On November 20, 2023, the Court GRANTED the University Defendants’ Motion to

Dismiss the Plaintiffs’ claim under Title IX of the Education Amendments of 1972 and declined

to exercise supplemental jurisdiction over the remaining state law claims. (ECF No. 60). The Court

also granted Plaintiffs until December 6, 2023, to file a Second Amended Complaint. Absent a

timely amendment, the Plaintiffs were advised that the case would be dismissed without further

notice. The time for amendment has come and gone without Plaintiffs filing a Second Amended

Complaint. Accordingly, the Plaintiffs’ Title IX Claim is DISMISSED with prejudice. The pendant

state law claims are dismissed without prejudice to refiling in state court.

       SO ORDERED on December 19, 2023.

                                              s/ Holly A. Brady
                                              CHIEF JUDGE HOLLY A. BRADY
                                              UNITED STATES DISTRICT COURT
